

Matter of Deibi E. v Sibelis Michelle D -P. (2021 NY Slip Op 00524)





Matter of Deibi E. v Sibelis Michelle D -P.


2021 NY Slip Op 00524


Decided on February 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2021

Before: Renwick, J.P., Webber, González, Scarpulla, JJ. 


Docket No. V-05635/19, V-10445/19 Appeal No. 13004 Case No. 2020-01743 

[*1]In the Matter of Deibi E., Petitioner-Appellant,
vSibelis Michelle D -P., Respondent-Respondent.


Steven N. Feinman, White Plains, for appellant.
Leslie S. Lowenstein, Woodmere, for respondent.



Order, Family Court, Bronx County (Jennifer S. Burtt, Referee), entered on or about February 7, 2020, which, after a hearing, awarded respondent mother sole legal and physical custody of the subject child, with liberal visitation to petitioner father, and after consulting with petitioner, sole authority to make all decisions regarding the child's education, medical and therapeutic care, and religion, unanimously affirmed, without costs.
The lack of cooperation between the parties, coupled with the father's disinterest in being actively involved in major decisions affecting the child's education and medical care, especially in light of the child's special needs, instead deferring to the mother to make such decisions, support the Referee's determination that granting the mother sole
legal custody was in the child's best interest (see e.g. Jamel W. v Stacey J., 136 AD3d 552 [1st Dept 2016]; see also e.g. Dean W. v Karina McK., 121 AD3d 440, 441 [1st Dept 2014]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2021








